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                      Exhibit 30
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    Message

    From:           Goldberg, Carole [/0=YALE UNiVERSITY/OU=EXCHANGE ADMINISTRATIVE GROUP
                    (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=CAROLE.GOLDBERG]
   Sent:            2/16/2016 7:05:17 PM
   To:              Criscuolo, John [john.crlscuolo@yale.edu]
   Subject:         Re: Jack Montague



    Hi John,
    Yes, contact Aiey. Your work with him was based on his Immature, inexcusable conduct
    as a drunk freshman, not about sexual consent.
    Best regards,
    Carole




    Carole T. Goldberg, PsyD
    DIr: SHARE
   Sexual Harassment and Assault Response & Education
    Asst. Clinical Professor, Psychiatry:
    Yale School of Medicine



    On Feb 16, 2016, at 3:49 PM, Criscuolo, John <john.criscuolo(g>V3le.edu> wrote:
    Hi Carole,
    Ijust received an email from Jack. He is asking that I speak to the matter of our past meetings. He cited the UWC
    reference to our past meetings and "extensive training". I spoke last week with Aly regarding the training and did
    explain we had not gone through the complete consent training as he was not situation at that time was not one of
    consent but rather conduct. He is asking if I can clarify that to the UWC, so assume he is planning an appeal. My
    question is am I ok to contact Aly and be discuss this case? While I don't know the details of the current matter I feel
   that if the UWC based part of their decision on the assumption that he received the full consent training I would like to
   speak to that piece. Am I overstepping my role?


   Thanks.




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